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         < Details         Inventory Record                PDF
          1




          Typical Speed Range Over Crossing (mph) To
          10



          Type and Count of Tracks (Main)
          1



          Type and Count of Tracks (Siding)
          N/A


          Type and Count of Tracks (Yard)
          N/A


          Type and Count of Tracks (Transit)
          N/A


          Type and Count of Tracks (Industry)
          N/A


          Train Detection (Main Track Only)
          None



          Is Track Signaled?
          No



          Event Recorder
          N/A


          Remote Health Monitoring
          N/A


         Part III: Highway or Pathway Traffic Control Device
         Information



         Part IV: Physical Characteristics


         Part V: Public Highway Information

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